Case 17-35623 Document 91 Filed in TXSB on 11/07/17 Page 1 of 20

Fillin this information to identify the case:

Debtorname Offshore Specialty Fabricators, LLC

United States Bankruptcy Court for the: SOUthern District of _ IX
(State)

Case number (If known): 17-35623

 

 

QC) Check if this is an
amended filing

Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy a6

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 

 

came

1. Gross revenue from business

 

C) None
identify the beginning and ending dates of the debtor's fiscal year, which Sources of revenue Gross revenue
may be a calendar year Check all that apply (before deductions and
exclusions)
From the beginning of the (2 Operating a business 37,094.57
fiscal year to filing date: From _O1/01/20d7 Filing date D other $__' ;
MM/DD/YYYY
For prior year: From ©2/93/2016 tg 12/31/2016 CI Operating a business 20,789, 980.57
MM/DD/ YYYY MM/DD/YYYY OC other $e
5 12/31/2015 :
For the year before that: = From 91/01/2015 t5 ‘ CY Operating a business eT
MM/DD/YYYY MM/DD/ YYYY OQ) other ve

2. Non-business revenue

include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

 

C) None
Description of sources of revenue Gross revenue from each
source
(before deductions and
exclusions)
From the beginning of the Scrap Sales
: . 01/01/2017 7 7 S 2,692.71
fiscal year to filing date: = From 91/9/2097 to Filing date $$ §_#2. 682
MM/DD/Y¥YYY
: 01/01/201 12/31/2016 Scrap Sales 86,430.61
For prior year: From 92/01/2016 ty af -
MM/DD/YYYY MM/DD/YYYY $

For the year before that: © From peli to mere Scrap Sales 60,095.53
rn

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Offshor : t : 17-35623
Debtor Offshore Specialty Fabricators, LLC Case numbergrcea

 

Name

List Certain Transfers Made Before Filing for Bankruptcy

| 3. Certain payments or transfers to creditors within 90 days before filing this case

List payments or transfers—including expense reimbursements—to any creditor, other than regular employee compensation, within 90
days before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be
adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

 

 

 

 

 

 

 

 

QC) None
Creditor’s name and address Dates Total amount or value Reasons for payment or transfer
Po Check aif that apply
See Exhibit A $ Q Secuad deni
coe Q Unsecured loan repayments
Street Q Suppliers or vendors
Q) Services
City State ZIP Code other
3.2
$ Q Secured debt
Creditor's name QO
Unsecured loan repayments
Street Q) Suppliers or vendors
QO Services
tity State ZIP Code QC) other

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider

List payments or transfers, including expense reim bursements, made within 1 year before filing this case on debts owed to an insider or
guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
$6,425. (This amount may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives:
general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of
the debtor. 11 U.S.C. § 101(31).

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

|
| OU) None
| Insider’s name and address Dates Tota! amount or value Reasons for payment or transfer
| 44
See Exhibit B $
| Insider's name
|
| Street
[
|
City State ZIP Code
Relationship to debtor
42
$
Insider's name
Street
City State ZIP Code

Relationship to debtor

 

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 2
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Offshore Specialty Fabricators, LLC 17-35623
Debtor Case number (i known)

Name

List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,

5. Repossessions, foreclosures, and returns
| sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

{3 None
Creditor’s name and address Description of the property Date Value of property
54
| $
| Creditor's name
|
Street
City State ZIP Code
52
$.
Creditor's name
Street
City State ZIP Code
6. Setoffs
List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
the debtor without permission or refused to make a payment at the debtor's direction from an account of the debtor because the debtor owed a debt.
@ None
Creditor’s name and address Description of the action creditor took Date action was Amount
taken
: $
| Creditors name
|
Street
|
Last 4 digits of account number: XXXX=_—
| City State ZIP Code
;

lasiy Legal Actions or Assignments

| 7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor

|
| was involved in any capacity—within 1 year before filing this case.
|

 

 

 

 

 

 

 

 

 

 

 

| Q None
| Case title Nature of case Court or agency's name and address Status of case
7.4 See Exhibit C QO) Pending
cane QO On appeal
Case number Street QO Concluded
i City State ZIP Code
Case title Court or agency’s name and address
mens Q) Pending
72
QO On appeal
Name
Q) Concluded
Case number
Street
City State ZIP Code

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 3
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Offshore Specialty Fabricators, LLC 17-35623
Debtor P ¥ : “ Case number (i known)

 

Name

8. Assignments and receivership
List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.

|
|
@ None
|

 

 

 

 

 

 

 

 

 

Custodian's name and address Description of the property Value
$
Custodian's name
| Case title Court name and address
Street
Name

Case number
City State ZIP Code Street

Date of order or assignment

City State ZIP Code

 

 

Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
of the gifts to that recipient is less than $1,000

 

 

 

 

 

 

 

 

 

 

 

 

 

 

G None
| Recipient's name and address Description of the gifts or contributions Dates given Value
94 —- $
Recipient's name
|
| Street
| City State ZIP Code
Recipient's relationship to debtor
|
| 92 q $
| Recipient's name |
Street
}
| City State ZIP Code
Recipient's relationship to debtor
| |
co Certain Losses
10. All losses from fire, theft, or other casualty within 1 year before filing this case.
None
Description of the property lost and how the loss Amount of payments received for the loss Date of loss Value of property
occurred Hf you have received payments to cover the loss, for lost
example, from insurance, government compensation, or
tort liability, list the total received.
List unpaid claims on Official Form 106A/B (Schedule A/B:
Assets — Real and Personal Property).
$

 

 

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 4
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Offshore Specialty Fabricators, LLC 17-35623
Debtor Case number (# known)

Name

Certain Payments or Transfers

11. Payments related to bankruptcy
List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,

seeking bankruptcy relief, or filing a bankruptcy case.

(I None

Who was paid or who received the transfer? If not money, describe any property transferred Dates Total amount or
value

Diamond McCarthy

 

" 9/8/2017 g °° °°

 

Address
909 Fannin, 37th Floor

 

 

Street
Two Houston Center

 

Houston TX 77010
City State ZIP Code

 

Email or website address
www. diamondmecarthy.com

 

Who made the payment, if not debtor?

Pisco Porton, LLC

 

Who was paid or who received the transfer? lf not money, describe any property transferred Dates Total amount or
value

 

 

2
—___ $

Address

 

 

| Street

 

 

 

City State ZIP Code

Email or website address

 

Who made the payment, if not debtor?

 

| 42. Self-settled trusts of which the debtor is a beneficiary
List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to

a self-settled trust or similar device.
| Do not include transfers already listed on this statement.

 

 

| ( None
| Name of trust or device Describe any property transferred Dates transfers Total amount or
| were made value
$
Trustee

 

 

Official Form 207 Statement of Financial Affairs for Non-individuals Filing for Bankruptcy page 5

 
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Debtor

Offshore Specialty Fabricators, LLC

 

Name

Q) None

Who received transfer?

See Exhibit D
13.1

Address

13. Transfers not already listed on this statement
List any transfers of money or other property—by sale, trade, or any other means—made by the debtor or a person acting on behalf of the debtor
within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

Description of property transferred or payments received Date transfer
or debts paid in exchange

17-35623
Case number (i known) :

Total amount or

was made value

 

 

 

Street

 

 

Relationship to debtor

City State ZIP Code

 

Who received transfer?

13.2

 

 

Address

 

 

Street

 

 

Relationship to debtor

City State ZIP Code

 

 

|

 

 

Ge veovious Locations
|

| 14, Previous addresses

List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

QC) Does not apply
Address

13430 Northwest Frwy,
144

Ste 900

 

Street

 

AOUSTOIT

TX

 

City

115 Menard Road
14.2

State

 

Street

 

Houma
City

Official Form 207

LA
State

Dates of occupancy

10/2016
From To

1988
From To

Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

10/2016

page 6
Debtor

Case 17-35623 Document 91

Offshore Specialty Fabricators, LLC

Case number (i known)

 

Name

Health Care Bankruptcies

 

|

|

ay Personally Identifiable Information

15. Health Care bankruptcies

Is the debtor primarily engaged in offering services and facilities for:
— diagnosing or treating injury, deformity, or disease, or
— providing any surgical, psychiatric, drug treatment, or obstetric care?

© No. Go to Part 9.
( Yes. Fill in the information below.

15.1

Facility name and address

Nature of the business operation, including type of services the
debtor provides

17-35623

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If debtor provides meals
and housing, number of
patients in debtor's care

 

 

 

 

 

 

 

 

 

 

 

 

 

Facility name
Street Location where patient records are maintained (if different from facility How are records kept?
address). If electronic, identify any service provider.
Check all that apply:
Gay State ZIP Code Q) Electronically
Q Paper
Facility name and address Nature of the business operation, including type of services the H debtor provides meals
debtor provides and housing, number of
patients in debtor's care
Facility name
Sieer Location where patient records are maintained (if different from facility How are records kept?
address). If electronic, identify any service provider.
Check aif that apply:
City State ZIP Code Q Electronically

 

| 16. Does the debtor collect and retain personally identifiable information of customers?

@ No.

|

| 17. Within 6 years before filing this case, have any employees of the debtor been partici

Official Form 207

Q) Yes. State the nature of the information collected and retained.

QO Paper

 

Does the debtor have a privacy policy about that information?

CO No
QC) Yes

pension or profit-sharing plan made available by the debtor as an employee benefit?

QI No. Go to Part 10.
Yes. Does the debtor serve as plan administrator?

& No. Go to Part 10.

C) Yes. Fill in below:
Name of plan

pants in any ERISA, 401(k), 403(b), or other

Employer identification number of the plan

 

Has the plan been terminated?

(J) No
CQ) Yes

Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

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Offshore Specialty Fabricators, LLC 17-35623
Debtor Case number (if known)
Name

Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

18. Closed financial accounts
Within 1 year before filing this case, were any financial accounts or instruments held in the debtor's name, or for the debtor's benefit, closed, sold,
moved, or transferred?
include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
brokerage houses, cooperatives, associations, and other financial institutions.
@ None
Financial institution name and address Last 4 digits of account Type of account Date account was Last balance
number closed, sold, moved, _ before closing or
or transferred transfer
18.1. XXXX— ) Checking $
i — ea SS
ame QO Savings
Street ) Money market
Q Brokerage
Sily State ZIP Code O) other
18.2 XXXX— QO Checking $
na Geta wee aoe res
me QO Savings
Street QO Money market
Q Brokerage
City State ZIP Code Q) other
|
19. Safe deposit boxes
List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case. |
None
| Depository institution name and address Names of anyone with access to it Description of the contents ne
|
| ) No
| Name C) Yes
Street
| Address
| City State ZIP Code

 

 

| 20. Off-premises storage
List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in

which the debtor does business.

|
}

 

 

 

 

 

 

None
| Facility name and address Names of anyone with access to it Description of the contents eh o
|
|
O1No
Q) Yes

Name

| Street
Address
City State ZIP Code

 

 

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 8

 
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Offshore Specialty Fabricators, LLC Case number (if known} 17-35623
Name

Debtor

REE Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in

trust. Do not list leased or rented property.

 

 

 

OG None
Owner's name and address Location of the property Description of the property Value
$
Name
Street

 

 

 

State ZIP Code

City
eens Details About Environmental Information

 

 

For the purpose of Part 12, the following definitions apply:
= Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
regardless of the medium affected (air, land, water, or any other medium).

= Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
formerly owned, operated, or utilized.

® Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
or a similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

C) No

Q) Yes. Provide details below.

 

 

 

 

 

 

 

 

 

| Case title Court or agency name and address Nature of the case Status of case

|

QO Pending
Case number Name CJ on appeal

|

Sau C2 Concluded

|

City State ZIP Code

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
| environmental law?

@ No

Q) Yes. Provide details below.

 

 

 

 

 

 

Site name and address Governmental unit name and address Environmental law, if known Date of notice
Name Name
|
Street Street
| City State ZIP Code —- City Stale ZIP Code

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy Page 9

 
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Offshore Specialty Fabricators, LLC 17- 35623
Debtor Case number (it known)

Name

| 24, Has the debtor notified any governmental unit of any release of hazardous material?

Q No
C) Yes. Provide details below.

 

 

 

 

 

 

Site name and address Governmental unit name and address Environmental law, if known Date of notice
Name Name
Street Street
City State ZIP Code City State ZIP Code

 

Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.

Include this information even if already listed in the Schedules.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

&) None
| Business name and address Describe the nature of the business Employer Identification number
Do not include Social Security number or ITIN.
EIN: -__
25.1 == ———
Name Dates business existed
Street
From To
| City State ZIP Code
|
| Business name and address Describe the nature of the business Employer Identification number
| 252 Do not include Social Security number or ITIN.
EIN;
Name. Dates business existed
Street
| From To
| City State ZIP Code
Business name and address Describe the nature of the business Employer Identification number
Do not include Social Security number or ITIN.
| 253 EIN;
| Name
Dates business existed
Street
From To
City State ZIP Code

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 10

 
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Offshore Specialty Fabricators, LLC
Debtor

 

Name

26. Books, records, and financial statements

QO] None

Name and address

See Exhibit E
Name

26a.1

Case number (i known)

 

Street

 

 

City State

Name and address

26a.2

ZIP Code

 

Name

 

Street

 

 

City State

statement within 2 years before filing this case.
QO) None

Name and address

26b1 Bourgeois Bennett

Name
1340 W Tunnel Blvd.

ZIP Code

 

 

 

 

 

 

 

 

Street
Houma LA 70360
an State ZIP Code
Name and address
William Billman and Tambrey Naron
26b.2

Name =

| 20445 State Highway 249 - Ste 280

| Sve ouston, TX 77070

me State ZIP Code

17-35623

 

26a. List all accountants and bookkeepers who maintained the debtor's books and records within 2 years before filing this case.

Dates of service

From To

Dates of service

From To

26 _List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial

Dates of service

From 2°24 To 2015

Dates of service

From 10/2016 To current

26c. List all firms or individuals who were in possession of the debtor's books of account and records when this case is filed,

Name and address

 

If any books of account and records are

unavailable, explain why

 

/
|
|
CQ) None
1
1

 

 

 

261 Melanie Unbehagen
Name
245 Lake Mechant Court
Street
Houma LA 70360
|
City State ZIP Code

Official Form 207

 

 

Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

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Offshore Specialty Fabricators, LLC 17-325623
Debtor Case number (i known}
Name

Name and address If any books of account and records are
unavailable, explain why

_— William Billman 41d Tambrey Naron
c

 

Name
20445 State Highway 249

 

Street
Houston TX 77070

 

 

 

City State ZIP Code

26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
within 2 years before filing this case.

None

Name and address

260.1

 

 

Street

 

 

City State ZIP Code

Name and address

2602

 

Name

 

Street

 

 

 

City State ZIP Code

27. Inventories
Have any inventories of the debtor's property been taken within 2 years before filing this case?
(3 No

QC] Yes. Give the details about the two most recent inventories.

 

Name of the person who supervised the taking of the inventory Date of The dollar amount and basis (cost, market, or
inventory other basis) of each inventory

$

Name and address of the person who has possession of inventory records

27.1

 

Name

 

Street

 

 

City State ZIP Code

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 12

 

 
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Offshore Specialty Fabricators, LLC 17-3562
Debtor a: Y Case number (i known} ?
Name
Name of the person who supervised the taking of the inventory Date of The dollar amount and basis (cost, market, or
inventory other basis) of each inventory
$

 

Name and address of the person who has possession of inventory records

27.2;

 

Name

 

Street

 

 

City State ZIP Code

28. List the debtor's officers, directors, managing members, general partners, members in control, controlling shareholders, or other
people in control of the debtor at the time of the filing of this case.

 

 

 

Name Address Position and nature of any % of interest, if any
interest

William M. Kallop 1708 River Oaks Blvd, Houston, TX Owner & Managing Member 100

Tambrey T. Naron 7010 S Cross Lane, Spring, Tx CEO 0

William Billman 6019 Camellia Street, Houston, Tx coo 9

David Weinhoffer 1635 Wrenwood Lks, Houston, TX CRO i)

 

 

 

29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control
of the debtor, or shareholders in control of the debtor who no longer hold these positions?
OQ) No
© Yes. identity below. |
}

 

 

 

 

 

 

 

 

 

 

 

 

 

Name Address Position and nature of Period during which
| any interest position or interest was |
| “vais held
| Steve Williams CEO From 5/216 To 10/16 |
| Eric Trosclair In-House Counsel 1 : zn |
| . From 2/1€ To 10/16 |
| Chris Winger CFO 5/16 i
| From Ye AOR
From To |
}
| |
| 30. Payments, distributions, or withdrawals credited or given to insiders |
| Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, |
bonuses, loans, credits on loans, stock redemptions, and options exercised? |
| CL) No |
| Yes. Identify below.
|
Name and address of recipient Amount of money or Dates Reason for
| description and value of providing the value
| property
| |
| Tambrey T. Naron $100,000 10/16-10/17 salary
| 3014
| Name
| 7010 S Cross Lane

Street ee

Spring TX 77379

| City State ZIP Code

| Relationship to debtor
| CEO

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Offshore Specialty Fabricators, LLC 17-35623
Debtor Case number (i known)
Name
Name and address of recipient $250,000 10/16-10/17 salary

 

William Billman

 

Names g Camellia St.

 

Street
Houston, TX

 

 

City State ZIP Code

Relationship to debtor
coo

 

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

QO) No
C} ves. Identify below.

Name of the parent corporation Employer Identification number of the parent
corporation
Offshore Domestic Group EIN: 7 2_1 4 8 B68 9 9 5

 

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

Q No
C) Yes. Identify below.

Name of the pension fund Employer Identification number of the pension fund
EIN: -

 

 

Signature and Declaration

 

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property. or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

|
|

| have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
is true and correct.

| declare under penalty of perjury that the foregoing is true and correct.

Executed on Sf Zz / 2O/7

MM /DD /YYYY

x Soyptroy Maren rawsrone Tambrey T: Maron

Signature of individual sighing on behalf of the debtor

Position or relationship to debtor CE oO

 

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?

QO) No
a Yes

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 14

 
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EXHIBIT A
OFFSHORE SPECIALTY FABRICATORS, LLC

Cause No. 17-35623

 

 

 

 

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SOFA Part 2 #3
Payments Within 90 Days before filing the case
Date Check # Vendor Amount Address 1 Address 2 City State Zip
T2017 «9902126 FUELMAN FLEET CARD 2.00 555 EAST AIRTEX DRIVE HOUSTON ™ 77073
72017 =63426 BIZZUKA, INC 150.00 105 CHAPEL ORIVE Lafayette LA 70506
772017 63422 COMPUTER SALES & SVC INC dba TRI-PARISH. NET 1,007.85 1162 BARROW ST HOUMA LA 70360
7/7/2017 = 63429: EXPERT TECHNOLOGY 511.517 15063 EAST MAIN STREET Cut Off LA 70345
7712017 = 63424 LOIS OF FICE CLEANING 230.00 248 LOWER COUNTRY DRIVE BOURG LA 70343
7772017 §=902127 ELITE BUSINESS SOLUTIONS 100,000.00 8765 SPRING CYPRESS SUITE L-206 Spring TX 77379
772017 ~=63420 BLUE CROSS & BLUE SHIELD OF LOUISIANA 5,494.44 Attn: Accounts Receivable/ASO P.O, Box 98025 Baton Rouge LA 70898-9025
77017 63427 JENNIFER BROUUSARD dba EXTERIOR DESIGNS LAWN! 200.00 LANDSCAPE MAINTENANCE, LLC P.O. BOX 509 Houma LA 70361
7712017 = 63431 PITNEY BOWES GLOBAL FINANCIAL SERVICES. LLC 416.02 P.O. BOX 371887 PITTSBURGH PA 152507887
72017 «63419 CONSOLIDATED WATERWORKS D 590.53 P.O. BOX 630 HOUMA LA 70361
7712017 =63425 VERIZON WIRELESS 625.91 P.O. BOX 660108 DALLAS ™ 752660108
77/2017 =63421 FEDERAL EXPRESS CORP 29.22 P.O. BOX 660481 DALLAS ™ 752660481
77/2017 63423 DS WATERS OF AMERICA, INCdba KENTWOOD SPRINGS 310.98 P.O. BOX 660579 DALLAS ™% 752660579
TITf2017 = 63428 = WASTE PRO OF LA. INC.612-WASTE PRO- CAJUN COUNTR 350.00 P.O, Box 865487 Orlando FL 32886-5487
W207 §=902128 KOCH & SCHMIDT, LLC 5,000.00 650 POYDRAS STREET SUITE 2660 New Orleans LA 70130
77/2017 = 63430) THE PITNEY BOWES BACK INC PURCHASE POWER 59.99 P.O. BOX 371874 PITTSBURGH PA 152507874
TAMY2017T 63432 RONALD HAVARD C/O KYLE FINOELY, ARNOLD AND ITKIN 450.00 6009 MEMORIAL DRIVE HOUSTON ™% 77007
71Y2017 =©63433  TIDELANDS CLAIM MANAGEMENT, LLC 300.00 6105S. TYLER STREET Covington La 70433
77212017 = 63437 PHOENIX OFFSHORE SOLUTIONS. LLC 4,140.00 116KOLDR Broussard LA 70818
72v2017 ~=902128 ELITE BUSINESS SOLUTIONS 85,015.56 8765 SPRING CYPRESS SUITE L-206 Spring ™ 77379
772172017 «63434 BLUE CROSS & BLUE SHIELD OF LOUISIANA 41,098.84 Attn: Accounts Receivable/ASO P.O. Box 58029 Baton Rouge LA 70898-9029
722017 63436 ENCORE WELLHEAD SYSTEMS, LLC 5,250.00 P.O. BOX 27380 Houston ™ 77227
722017 «6963438 ~=C &GBOATS, INC 3,200.00 P.O. BOX 789 Golden Meadow LA 70357
7212017 = 63435. ENTERGY LOUISIANA, LLC 13,061.91 P.O. BOX 8108 BATON ROUGE LA 708918108
7/28/2017 «63446 LOIS OFFICE CLEANING 871.69 248 LOWER COUNTRY DRIVE BOURG LA 70343
7I28/2017 «= 63456 |= BLUE WATER CORPORATE HOUSING 2.75000 435 CORPORATE ORIVE, SUITE 103 Houma LA 70360
7/28/2017 63457 BLUE WATER CORPORATE HOUSING 2,650.00 435 CORPORATE DRIVE, SUITE 103 Houma LA 70360
7/28/2017 63450 RONALD HAVARD C/O KYLE FINDELY, ARNOLD AND ITKIN 480.00 6009 MEMORIAL DRIVE HOUSTON 1™ 77007
7282017 63455 TIDELANDS CLAIM MANAGEMENT, LLC 600.00 6105. TYLER STREET Covington LA 70433
7728/2017 63441 BLUE CROSS & BLUE SHIELD OF LOUISIANA 3,270.63 Attn: Accounts Receivable/ASO P.O. Box 98029 Baton Rouge LA 70898-9029
282017 «63452 JENNIFER L. BROUUSARD dba EXTERIOR DESIGNS LAWN/ 200.00 LANDSCAPE MAINTENANCE, LLC P.O. BOX 509 Houma LA 70361
7282017 = 63442: DIRECTV. INC 30.00 P.O, BOX 105249 Atlanta GA 30348-5249
7/28/2017 «63449 DISA, INC 723.00 P.O. BOX 120314 DEPT. 890314 DALLAS ™ 753120314
7/26/2017 «63451 ELLENDALE COUNTRY CLUB. INC 400.39 P.O. BOX 22 Houma LA 70361
7728/2017 63444 SOUTHLA ELECTRICAL COOP 2,138.87 P.O. 8OX 4037 HOUMA LA 70362
7262017 «©63447 = TERMINIX PEST CONTROL INC 400.00 P.O. BOX 6001 HOUMA LA 70361
7282017 «63440 «= CINTAS CORPORATION 407 54 P.O. BOX 650838 DALLAS ™ 752650838
7/28/2017 63448 VERIZON WIRELESS 616.48 P.O. BOX 660108 DALLAS 1™ 752660108
7262017 63443 FEDERAL EXPRESS CORP 36.51 P.O. BOX 660481 DALLAS ™ 752660481
7282017 §=63445 OS WATERS OF AMERICA, INCdba KENTWOOD SPRINGS 309.63 P.O. BOX 660579 DALLAS ™ 752660579
262017 63453 WAGEWORKS, INC 80.40 P.O. BOX 8363 Pasadena CA 91109-8363
71282017 «63454 WASTE PRO OF LA, INC 612-WASTE PRO- CAJUN COUNTR 340.00 P.O. Box 865487 Orlando FL 32886-5487
7282017 63439 WAL-MART STORES EAST. LP WAL-MART LOUISIANA LLC 2.38472 P.O. BOX 530934 ATLANTA GA 303530934
8/2017 902129 PREMIUM ASSIGNMENT CORP 6.02714 C/O UPSTREAM BROKERS 2020 N. MEMORIAL Houston Tx 77007-8320
8/4/2017 63463 BIZZUKA, INC 150.00 105 CHAPEL DRIVE Lafayette LA 70506
8/4/2017 63461 COMPUTER SALES & SVC INC dba TRI-PARISH NET 992.92 1162 BARROW ST HOUMA la 70360
4/2017 63465 EXPERT TECHNOLOGY 511.51 15063 EAST MAIN STREET Cut Off lA 70345
6/4/2017 63462 LOIS OF FICE CLEANING 1,075.98 248 LOWER COUNTRY ORIVE BOURG LA 70343
8/4/2017 63460 KEN BUNDY 120.00 6503 AMBERCREST COURT Spring ™ 77389
8/4/2017 902130 ELITE BUSINESS SOLUTIONS 182,949.65 8765 SPRING CYPRESS SUITE L-206 Spring 1x 77379
8/4/2017 = 634684 ELLENDALE COUNTRY CLUB. INC 41B.27 P.O. BOX 22 Houma A 70361
8/4/2017 63458 CONSOLIDATED WATERWORKS D 307.56 P.O. BOX 630 HOUMA LA 70361
6/4/2017 «63459. «FEDERAL EXPRESS CORP 2915 P.O. BOX 660481 DALLAS ™ 752660481
@82017 «=6963467 TIMCYN CONSULTING, LP $.000.00 14735 QUAIL GROVE LN Houston TX 77079
82017 902131 KOCH & SCHMIDT, LLC 50,000 00 650 POYDRAS STREET SUITE 2660 New Orleans LA 70130
8/8/2017 63466 BILLMAN OIL & GAS MANAGEMENT 11,700.00 6019 CAMELLIA ST. HOUSTON ™ 77007
88/2017 902132 PHELPS DUNBAR 50.000.00 P.O. BOX 974798 DALLAS ™ 753974798
8162017 902133 JACKSON WALKER, LLP §,556.25 P.O. BOX 130989 Dallas ™ 75313-0989
&17/2017 63476 MICKEL HAHN 450.00 1344 Cenora Lane Hixson ™N 37343
B17/2017 63477 RICHARD JACKSON 300.00 22 PREACHER POWELL RD CARRIERE MS 39426
8/17/2017 63474 RONALD HAVARD C/O KYLE FINDELY, ARNOLD AND ITKIN 450.00 6009 MEMORIAL DRIVE HOUSTON ™ T7007
8/17/2017 902134 ELITE BUSINESS SOLUTIONS 137,462 44 8765 SPRING CYPRESS SUITE L-206 Spring ™ 77379
8172017 63475 JENNIFER L. BROUUSARD dba EXTERIOR DESIGNS LAWN/ 200.00 LANDSCAPE MAINTENANCE, LLC P.O. BOX 505 Houma LA 70361
8/17/2017 63472 A-1 PROFESSIONAL ANSWERNGSERVICE, INC 128.00 P.O. BOX 2852 LAFAYETTE LA 705022852
8/17/2017 63473 TERMINIX PEST CONTROL INC 200.00 P.O. BOX 6001 HOUMA LA 70361
8/17/2017 «63471 SIRIUS XMRADIO 151,97 P.O. BOX 78054 PHOENIX AZ 850628054
@17/2017 63470 ISN SOFTWARE CORPORATION 3,960.00 P.O. BOX 841808 DALLAS ™ 752841808
817/2017 63468 CLASSIC BUSINESS PRODUCTS 745.68 7828 HWY 182 EAST MORGAN CITY lA 70380
8/17/2017 63469 CINTAS CORPORATION 480.56 P.O. BOX 650838 DALLAS ™% 752650838
8/22/2017 902135 ELITE BUSINESS SOLUTIONS 15,200.00 8765 SPRING CYPRESS SUITE L-206 Spring ™ 77379
8/22/2017 63481 DS WATERS OF AMERICA, INCoba KENTWOOD SPRINGS 242.93 P.O. BOX 660579 DALLAS ™ 752660579
8/22/2017 63482 WAGEWORKS, INC 7799 P.O. BOX 8363 Pasadena CA 91109-8363
8222017 63478 BLUE CROSS & BLUE SHIELD OF LOUISIANA 9.19808 P.O. Box 98029 Baton Rouge LA 70898-9029:
8/22/2017 63480 ENTERGY LOUISIANA LLC 12,536.09 P.O. 80x 8108 BATON ROUGE La 708918108
8/22/2017 63479 DIRECTV, INC 3425 P.O. BOX 105249 Atlanta GA 30348-5249
8/28/2017 63488 MICKEL HAHN 480.00 1344 Cenora Lane Hixson TN 37343
282017 63489 RICHARD JACKSON 320.00 22 PREACHER POWELL RD CARRIERE MS 39426
8282017 63486 BLUE WATER CORPORATE HOUSING 2,650 00 435 CORPORATE DRIVE, SUITE 103 Houma LA 70360
#282017 63485 RONALD HAVARD C/O KYLE FINDELY, ARNOLD AND ITKIN 480.00 6005 MEMORIAL DRIVE HOUSTON ™ 77007
8/26/2017 63483 SOUTHLA. ELECTRICAL COOP 2.227 73 P.O. BOX 4037 HOUMA aA 70361
28/2017 63484 VERIZON WIRELESS 446.53 P.O. BOX 660108 DALLAS. ™ 752660108
8/28/2017 63487 WASTE PRO OF LA, INC 612-WASTE PRO- CAJUN COUNTR 350 00 P.O. Box 865487 Orlando FL 32886-5487
91/2017 902136 ELITE BUSINESS SOLUTIONS 71,987 70 8765 SPRING CYPRESS SUITE -206 Spring ™ 77379
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ACADIAN AMBULANCE SERVICEdba ACADIAN TOTAL SECL 615.20
BIZZUKA, INC 150.00
COMPUTER SALES & SVC INC dba TRI-PARISH NET 992.92
EXPERT TECHNOLOGY 511.51
LOIS OFFICE CLEANING B76 54
ATBT 1,411.61
AT&T 97 58
DISA, INC 341.00
ELLENDALE COUNTRY CLUB, INC 846.70
A-1 PROFESSIONAL ANSWERNGSERVICE, INC 128.00
TERMINIX PEST CONTROL INC 200.00
OS WATERS OF AMERICA, INCdba KENTWOOD SPRINGS 244 16
WAL-MART STORES EAST, LP WAL-MART LOUISIANA, LLC 582.70
CINTAS CORPORATION 407.54
CONSOLIDATED WATERWORKS D 115.88
HOUMA BEARING SERVICE 47.18
VICTORY PARK MANAGEMENT 50,000.00
VICTORY PARK MANAGEMENT 50,000.00
MICKEL HAHN 450.00
RICHARD JACKSON 300.00
RONALD HAVARD C/O KYLE FINDELY, ARNOLD AND ITKIN 450.00
BLUE CROSS & BLUE SHIELD OF LOUISIANA 5.236.26
BLUE CROSS & BLUE SHIELD OF LOUISIANA 7,351.37
DIRECTV. INC 94.25
LOUISIANA DEPARTMENT OF ENVIRONMENTAL QUALITY 5,444.80
ELITE BUSINESS SOLUTIONS 63,379.78
ENTERGY LOUISIANA, LLC 12,501.26
KOCH & SCHMIDT. LLC 5.000.00
MICKEL HAHN 450 00
RICHARD JACKSON 300.00
BLUE WATER CORPORATE HOUSING 2,650.00
RONALD HAVARD C/O KYLE FINDELY, ARNOLD AND ITKIN 450.00
COMPUTER SALES & SVC INC dba TRI-PARISH NET 1,007.81
ELITE BUSINESS SOLUTIONS. 61,538 49
JENNIFER L. BROUUSARD dba EXTERIOR DESIGNS LAWN/ 200.00
SOUTH LA. ELECTRICAL COOP 2,358.87
VERIZON WIRELESS 421.98
WAGEWORKS, INC 62.61
WASTE PRO OF LA. INC 612-WASTE PRO- CAJUN COUNTR 1,062.65
BLUE CROSS & BLUE SHIELD OF LOUISIANA 7,582.31
FEDERAL EXPRESS CORP 19.66
TOTAL 1,121,286.22
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P.O. BOX 93444

105 CHAPEL DRIVE

1162 BARROW ST

15063 EAST MAIN STREET
248 LOWER COUNTRY DRIVE
P.O. BOX 105262

P.O. BOX 105262

P.O. BOX 120314

P.O. BOX 22

P.O. BOX 2852

P.O. BOX 6001

P.O, BOX 660579

P.O. BOX 530934

P.O. BOX 650838

P.O, BOX 630

1881 GRAND CAILLOU ROAD
227 West Monroe Street
227 West Monroe Street
1344 Cenora Lane

22 PREACHER POWELL RD.
6009 MEMORIAL DRIVE
P.O. Box 98029

P.O. Box 98029

P.O. BOX 105249

P.O. BOX 4311

8765 SPRING CYPRESS
P.O. BOX 8108

650 POYDRAS STREET
1344 Cenora Lane

22 PREACHER POWELL RD
435 CORPORATE DRIVE,
6009 MEMORIAL DRIVE
1162 BARROW ST

8765 SPRING CYPRESS
LANDSCAPE MAINTENANCE, LLC
P.O. BOX 4037

P.O. BOX 660108

P.O. BOX 8363

P.O. Box 865487

P.O. Box 98029

P.O. BOX 660481

DEPT. 890314

Suite 3900
Suite 3900

SUITE L-206

SUITE 2660

SUITE 103

SUITE L-206
P.0. BOX 509

Page 16 of 20

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Atlanta

Baton Rouge
Spring

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EXHIBIT B Cause No. 17-35623
OFFSHORE SPECIALTY FABRICATORS, LLC
SOFA Part 2 #4 Payments to Affiliates or Insiders

DESCRIPTION DATE AMOUNT
Bank Charges - OE 10/31/16 3,924.94
Bank Charges - OE 11/30/16 402.12
Medical Rebills - OE 11/30/16 4,832.33
Bank Charges - OE 12/31/16 1,505.12
Medical Rebills - OE 12/31/16 15,716.59
Transfers to OE 01/31/17 393,700.00
Bank Charges - OE 01/31/17 638.70
Delaware Sec of State (OSS) 07/31/17 1,135.00
Medical Payment - Pisco Porton 07/31/17 4,955.61
V/C Transfer to OE 09/29/17 13,000.00
Medical Rebill - Inv. 3902- Pisco Porton 10/31/16 50,292.97
Medical Rebill - inv. 3904 - Pisco Porton 11/30/16 904.35
Medical Rebill - Inv. 3905 - Pisco Porton 12/31/16 1,424.19
Medical Rebill - Inv. 3908 - Pisco Porton 01/31/17 4,031.18
Medical Rebill - Inv. 3910 - Pisco Porton 02/28/17 1,016.69
Verizon (Ken Stockel) ODG 11/30/16 114.09
CSC - ODG 12/01/16 106.80
State of Delaware - ODG 12/31/16 300.00
Verizon (Ken Stockel) - ODG 12/31/16 207.86
Verizon (Ken Stockel) - ODG 01/31/17 105.12
Verizon (Ken Stockel) - ODG 02/28/17 102.63
Verizon (Ken Stockel) - ODG 03/31/17 104.55
Verizon (Ken Stockel) - ODG 04/30/17 104.62
Verizon (Ken Stockel) - ODG 05/31/17 104.37
Verizon (Ken Stockel) - ODG 07/25/17 107.15
Verizon (Ken Stockel) - ODG 08/18/17 118.18
Verizon (Ken Stockel) - ODG 09/21/17 104.61
Petty Cash Reimbursements- AVID 09/30/17 835.53
Petty Cash Reimbursements-AVID 09/30/17 71.59
Fed-Ex - AVID 02/02/17 51.59
Fuelman - AVID 02/18/17 42.14
Mike Summers expenses - AVID 02/28/17 86.62
February payroll - AVID 02/28/17 12,409.37
March payroll - AVID 03/31/17 22,174.18
Fed-Ex - AVID 03/31/17 13.42
Fed-Ex - AVID 03/31/17 130.87
Fuelman - AVID 03/31/17 43.10
April paryoll - AVID 04/30/17 21,345.46
Fed-Ex - AVID 04/30/17 122.11
Fuelman - AVID 04/30/17 50.83
May payroll - AVID 05/31/17 4,669.79
Fed Ex - AVID 05/31/17 12.01
May payroll -AVID 05/31/17 7,640.92
June payroll - AVID 06/30/17 7,702.23
UC Transfer AVID 06/23/17 2,000.00
July payroll - AVID 07/31/17 1,491.59
Natita USCG COFR - AVID 08/31/17 100.00
Mystere USCG COFR - AVID 08/31/17 100.00
Blue Cross - AVID 09/15/17 1,464.43
Blue Cross - AVID 09/29/17 235.05
Blue Cross - AVID 09/29/17 307.47

 

 

 

 

TOTAL 582,160.07
Case 17-35623 Document 91

NORLITO YBANEZ

PETER

William Sanders-Encore

Allen Smith

Brent Craver

Filed in TXSB on 11/07/17 Page 18 of 20

In appreals process- have not received any decision from the Supreme
with to our Petition
medicals to
motion for
Dunbar
Dunbar 4 medicals to

Tidelands and
Settled for not
Underwriters handling-atty and inspection- OSF owe

LAWSUIT- Armstrong hired atty, Pierre investigating, K Lavie
ruled we didn't

OSF

incident- Encore Dunbar

case

2 ec. Suit~ V28/17 underwriters Rufus Harris to hangie
Lavie

Rufus Harris

 

 

 

 

 

 

 

 

filed 2/15/17:
LEGAL CLaims] COURT DOCKET/CAUSE NO.
1. Bow 2 Stern Services v. Offshore Specialty Fabricators 32™ IDC. Terrebonne Parish Docket No. 178529, Div. B
2. Bryne. Rice & Turmer, Inc. v. Offshore Specialty Fabricators Orleans Parish CDC Docket No. 16-5182. Div. J
3. Central Boat Rentals, Inc. v. Offshore Specialty Fabricators 16" JDC, St Mary Parish Docket No. 130571, Div. A Petition Filed: 01/06/17
4. Coastal Electric Supply, LLC v. Offshore Specialty Fabricators 2™ JDC, Terrebonne Parish Cause No. 178479, Div. D
5. Complete Occupational Health Services, LLC v, Offshore Specialry Fabricators 17" IDC. Lafourche Parish Cause No. 132550
6. Compressed Air Systems, LLC v. Offshore Specialty Fabricators 1S" JDC, Lafayette Parish Docket No. C-20166568 J

 

7. Eaton Oil Tools. Inc. v. Offshore Specialty Fabricators

32™ JDC. Terrebonne Parish Docket No. 179769. Div. E

 

8. Highland Transpon v. Offshore Specialty Fabricators

32™ JDC, Terrebonne Parish Docket No. 179108, Div. C

 

 

9. Occupational Medicine Services, LLC v. Offshore Specialty Fabricators

City Court of Houma Docket No. C-171345

 

10. Redfish Rentals v. Offshore Specialty Fabncators

32™ JDC. Terrebonne Parish Docket No. 178592, Div, C

 

L1. Richard Jackson v. Offshore Specialty Fabricators

32™ JDC, Terrebonne Parish Docket No. 128476, Div. C

 

 

 

 

 

12_Richard’s Supply, Inc_v. Offshore Specialty Fabricators City Court of Houma Docket No. C-171508
13. Technical Engineering V. Offshore Specialty Fabricators 24" JDC, Jefferson Parish Docket No. 774398, Div. N

 

14. DeepCor Marine, Inc. v. Montco, et al. No. 17-1595 c/w Nos. 17-1857, 17-2109.17-2179. 17-2824, 17-3458, and 17-5724.

 

filed in the United States District Court for the Eastem District of Louisiana

 

15. Klein Investigations & Consulting, a Division of Klein Investments. Inc. v Kallop Enterprises. LLC, et al [U.S. District Court. Eastern District of Texas. Beaumont Division

 

 

[Case No. :I-17-cv-23

 

 
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EXHIIBIT D Cause No. 17-35623
OFFSHORE SPECIALTY FABRICATORS, LLC
SOFA Part 6 #13
Transfers/Sales of Property
Item Sold Amount Sold for Sold To Date sold
M/V Betty R Gambarella | $ 250,000 | Curtin Maritime Corporation| 6/13/2016
2012 GMC Serria 1500 | $ 8,000 | Steven Adams 6/20/2017
2004 Lexus S 15,400 | Texas Direct 7/21/2017
Linkbelt Crawler crane 5 20,000 | TP Thompson 6/28/2017
1975 Mac Dump Truck | $ 1,500 | TOBCO 7/7/2017
Deck Barge Chester Trader | $ 162,356 | Ocean Marine Recycling 6/17/2016
M/V Mr. Gilbert $ 18,000 | Reliant Recycling 9/1/2016
Derrick Barge Raeford $ 2,000,000 | Modern American Recycling | 2/19/2016
1999 Ford F250 S 100 | Terrebonne Ford 6/16/2016
2004 Chevy Suburban S 4,000 | Terrebonne Ford 6/16/2016
2005 Chevy Suburban S 4,000 | Terrebonne Ford 6/16/2016
2006 Ford Van S 500 | Terrebonne Ford 6/16/2016
2009 GMC Sierra S 10,000 | Terrebonne Ford 6/16/2016
2009 GMC Sierra S 10,000 | Terrebonne Ford 6/16/2016
2009 GMC Sierra S 6,000 | Terrebonne Ford 6/16/2016
2009 GMC Sierra S 8,000 | Terrebonne Ford 6/16/2016
2009 GMC Sierra S 11,000 | Terrebonne Ford 6/16/2016
2011 Ford E350 Van S 7,000 | Terrebonne Ford 6/16/2016
2011 GMC Sierra S 13,000 | Terrebonne Ford 6/16/2016
2012 GMC Sierra S 11,000 | Terrebonne Ford 6/16/2016
2011 Ford E350 Van S 8,000 | Terrebonne Ford 6/16/2016

 

 

 

 

 

Total ltemssoldin USD $ 2,567,856
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EXHIBIT E

Cause No. 17-35623

OFFSHORE SPECIALTY FABRICATORS, LLC

SOFA - Part 13 #26

NAME

Melanie Unbehagen
Kenneth Bourgeois
Harlan Belanger
Rachel Remont
Deana Corbitt
Jessica Benoit
Jenna Fitch
Randall Haydel
Tambrey Naron
William Billman

ADDRESS

245 Lake Mechant Court
210 Ollie Dr

100 Sherman Street
372 Baptiste Circle
401 Cascade Drive
230 James Edison
810 Cottagemill Lane
116 Plum Ct.

7010 S Cross Lane
6019 Camellia St.

Houma, LA 70360

Belle Chasse, LA 70037 (term date 12/31/15)
Houma, LA 70360

Houma, LA 70363

Houma, LA 70364

Gray, LA 70359

Houma, LA 70363

Raceland, LA 70394

Spring, TX 77379

Houston, TX 77007
